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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

           v.
                                                      Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                Defendant.

    GOVERNMENT’S NOTICE OF EX PARTE, IN CAMERA, CLASSIFIED FILING

       The United States of America hereby gives notice that, on June 5, 2019, the Government

filed, through the Classified Information Security Officer, an ex parte, in camera, classified

addendum to its Motion Regarding Protective Order.

                                                         Respectfully submitted,

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By: /s/                                                  By: /s/
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